Case 1:24-cr-20246-TLL-PTM ECF No. 1, PagelD.1 Filed Ng 1of3

UNITED STATES DISTRICT COURT 9° Ysn 98 ne,
EASTERN DISTRICT OF MICHIGAN 8.2 Tyg
“Mig, Or ‘

S)

UNITED STATES OF AMERICA,

Lo, Case: 1:24-cr-20246
Plaintiff, Judge: Ludington, Thomas L.
Vv. MJ: Morris, Patricia T.
Filed: 05-08-2024

HOUSTON J. NASH, SEALED MATTER(tt)

Violation:
Defendant. 21 ULS.C. § 841 (a)(1)

INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
Possession with Intent to Distribute Cocaine
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)

On or about March 1, 2024, in the Eastern District of Michigan, HOUSTON
J. NASH, knowingly possessed with the intent to distribute a mixture or substance

containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841{a)(1) and 841(b)(1)(C).

Case 1:24-cr-20246-TLL-PTM ECF No. 1, PagelD.2 Filed 05/08/24 Page 2 of 3

FORFEITURE ALLEGATION

The allegations contained in Count One of this Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeiture pursuant
to Title 21, United States Code, Section 853(a). Pursuant to Title 21, United States
Code, Section 853, upon conviction of an offense in violation of Title 21, United
States Code, Section 841, the defendant shall forfeit to the United States: (1) any
property, real or personal, constituting, or derived from, any proceeds obtained,
directly or indirectly, as the result of such offense; and (2) any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission
of, the offense.

THIS IS A TRUE BILL

Dated: May 8, 2024

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

DAWN N. ISON
United States Attorney

s/Anthony P. Vance
ANTHONY P. VANCE
Assistant United States Attorney
Chief, Branch Offices

600 Church Street

Flint, Michigan 48502-1280
Phone: (810) 766-5177
anthony.vance@usdoj.z0v
P61148

bh

s/William Orr

WILLIAM ORR

Assistant United States Attorney
101 First Street, Suite 200

Bay City, Michigan 48708-5747
Phone: (989) 895-5712
william.orr@usdoj.gov

Texas Bar No: 24102308

Case 1:24-cr-20246-TLL-PTM ECF No. 1, PagelD.3 Filed 05/08/24 Page 3 of 3

a" _ BL ot

Companion Case information MUST be completed by Al
Case: 1:24-cr-20246

United States District Court Criminal Case Cc
Eastern District of Michigan Mu aonnsington, Thomas L.
_ Patricia T.

Filed: 05-08-2024
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to cor SEALED MATTER(tt)

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 {b)(4)": Judge Assigned:
1] Yes x No AUSA’s Initials: WO
Case Title: USA v. Houston J. Nash f Ihe
County where offense occurred: Saginaw MAY » D
Check One: X Felony __Misdemeanor __ Petty BAY Com ICT 6
iM, RB
x Indictment/ Information --- no prior complaint. CHigan r
Indictment/ Information --- based upon prior complaint []
Indictment/___Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].
Superseding Case Information
Superseding to Case No: Judge:
Cl Corrects errors; no additional charges or defendants.
OJ Involves, for plea purposes, different charges or adds counts.
O Embraces same subject matter but adds the additional defendants or charges below:
Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

s/William Orr
Date: May 8, 2024 William Orr
Assistant United States Attorney
101 First Street, Suite 200, Bay City, MI 48708
Phone: 989-895-5712
Fax: 989-895-5790
E-Mail address: William.Orr@usdoj.gov
Attorney Bar #: Texas 24102308

' Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may De companion cases even though one of them may have already been terminated.

